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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                     Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                           Case No. 15-23007-rdd
    COMPANY, INC., et al.,1
                                                               Jointly Administered
                    Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA                           Adv. Pro. No. 18-8245-rdd
    COMPANY, INC., et al.,
                     Plaintiff,

             - against –

    PEPSICO, INC.;BOTTLING GROUP, LLC
    (d/b/a Pepsi Beverages Company and f/d/b/a The
    Pepsi Bottling Group); FRITO-LAY NORTH
    AMERICA, INC.; QUAKER SALES AND
    DISTRIBUTION, INC.; MULLER QUAKER
    DAIRY, LLC; STACY’S PITA CHIP
    COMPANY, INC.; PEPSI BOTTLING GROUP,
    NJ; and PEPSI USA,

                            Defendants.

                      AMENDED SCHEDULING AND PRETRIAL ORDER

       The parties cannot amend this order by stipulation or otherwise, and the Court will
not amend it unless presented with (i) proof of cause beyond the control of the party
seeking amendment and (ii) timely application as soon as possible after the party seeking
amendment learns of the cause. FAILURE TO COMPLY WITH THIS ORDER MAY
RESULT IN DISMISSAL OR OTHER SANCTION. If delay or other act or omission of
your adversary may result in a sanction against you, it is incumbent on you to promptly
bring this matter to the Court for relief.

        It is hereby ORDERED as follows:

       1.      Pursuant to Rule 16(b)(3)(A), the deadline to join other parties or amend the
pleadings shall be December 21, 2018.


1
  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc.


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        2.      All fact discovery shall be completed by December 13, 2019. In the event of a
dispute over discovery, the parties’ counsel shall promptly confer to attempt in good faith to
resolve the dispute. If, notwithstanding their good faith efforts to do so, they are unable to
resolve a discovery issue, they shall promptly inform the Court by letter of the nature of the
dispute and request a telephonic discovery conference. At the conference, the Court will ask the
parties about their prior efforts to resolve the dispute.

       3.      The parties shall identify expert witnesses and serve the written reports or
disclosures required by Rule 26(a)(2)(B)-(C) by December 13, 2019. Expert depositions shall be
completed by February 28, 2020.

        4.      The parties shall identify any rebuttal expert witness who will testify solely in
opposition to the experts and opinions disclosed pursuant to Paragraph 3 above, and serve the
related written reports or disclosures required by Rule 26(a)(2)(B)-(C), by February 15, 2020.

        5.      Either or both parties may seek leave under the Local Bankruptcy Rules to move
for summary judgment under Rule 56 after completion of discovery and before taking the steps
set forth in Paragraphs 6-9 below. If such request is granted, the parties shall schedule the
adjourned final pretrial conference to take place approximately one month after the scheduled
hearing on summary judgment.

        6.      The Court will hold a final pretrial conference March 24, 2020, at 10:00 a.m.
(unless a party has previously obtained permission under the Local Bankruptcy Rules to move
for summary judgment, which motion shall be heard at that date and time), at which time the
parties must be prepared to proceed to trial within two weeks.

       7.       In advance of the final pretrial conference, the parties shall have conferred and
used their best efforts to agree on a joint exhibit book and shall have identified any exhibits
whose admissibility is not agreed.

        8.      In addition, on or before two weeks before the final pretrial conference, the
parties shall have exchanged proposed witness lists.

        9.     On or before one week before the scheduled trial date, the parties shall (a) submit
to chambers declarations under penalty of perjury or affidavits of their direct witnesses, who
shall be present at trial for cross-examination and redirect, or have sought the Court’s permission
to examine direct witnesses at trial, and (b) submit to chambers the joint exhibit book referred to
in Paragraph 7 hereof.

Dated:    July 22, 2019
          White Plains, New York
                                                         /s/Robert D. Drain
                                                         Honorable Robert D. Drain
                                                         United States Bankruptcy Judge




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